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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS



UNITED STATES OF AMERICA

        v.
                                                          Criminal No.: 16-CR-10343-ADB
MICHAEL L. BABICH, et al.,

        Defendants.


  ASSENTED-TO MOTION FOR A TWO-DAY EXTENSION OF THE DEADLINE TO
       SUBMIT SENTENCING MEMORANDA AND RECOMMENDATIONS

       Defendants Michael Babich, Michael Gurry, Richard Simon, Joseph Rowan, and John

Kapoor respectfully request that the Court extend their deadline to file their sentencing

memoranda by two days, to December 18, 2019. The two-day extension is needed to finalize

these defendants’ sentencing memoranda.

       The moving defendants have conferred with counsel for the government, which assents to

their request on the condition that the government receive a reciprocal two-day extension, until

December 18, 2019, of its deadline to file its sentencing memoranda and inform the Court of its

sentencing recommendations. The moving defendants assent to such an extension for the

government.

       Defendant Burlakoff previously obtained the same two-day extension. Defendant Lee

anticipates seeking additional relief from this Court that goes beyond this assented-to motion.

       WHEREFORE, defendants Babich, Gurry, Simon, Rowan, and Kapoor respectfully

request that this motion for a two-day extension of the deadline to file sentencing memoranda

and recommendations be granted such that they have until December 18, 2019 to file their

sentencing memoranda, and such that the government has until December 18, 2019 to inform the
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Court of its sentencing recommendations and file its sentencing memoranda.


Dated: December 13, 2019                         Respectfully submitted,

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                          LOCAL RULE 7.1 CERTIFICATION

        Pursuant to Local Rule 7.1(a)(2), I hereby certify that counsel for the moving
defendants and the government have conferred and that counsel for the government has
indicated their assent to this motion.


                                                   /s/ Kosta S. Stojilkovic
                                                   Kosta S. Stojilkovic
                                                   Counsel for Dr. John Kapoor


                                CERTIFICATE OF SERVICE

        I hereby certify that the foregoing document will be served on all counsel of record
through the ECF system.


                                                   /s/ Kosta S. Stojilkovic
                                                   Kosta S. Stojilkovic
                                                   Counsel for Dr. John Kapoor




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